               Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4465 Page 1 of 47




                    1 The List of Parties Opposing this Motion is Set Forth on the signature page hereto

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                    8                                    UNITED STATES DISTRICT COURT
                    9                                   SOUTHERN DISTRICT OF CALIFORNIA
                   10

                   11 CITIZENS DEVELOPMENT                               CASE NO. 12-CV-0334-GPC(KSC)
                      CORPORATION, INC., a California
                   12 corporation,                                       Judge: Gonzalo P. Curiel
                   13                      Plaintiff,                    JOINT OPPOSITION TO HOLLANDIA
                                                                         DAIRY INC.’S MOTION FOR
                   14            vs.                                     DETERMINATION OF DISCOVERY
                                                                         DISPUTES
                   15 COUNTY OF SAN DIEGO, a California
                      municipal corporation, CITY OF SAN                 Action Filed: February 8, 2012
                   16 MARCOS, a California municipal                     Trial Date:   None Set
                      corporation, CITY OF ESCONDIDO, a
                   17 California municipal corporation,
                      VALLECITOS WATER DISTRICT, a
                   18 California municipal corporation,
                      HOLLANDIA DAIRY, INC., a California
                   19 corporation, and DOES 1 through 100,
                      inclusive,
                   20
                                     Defendants.
                   21

                   22 AND RELATED COUNTER-ACTIONS
                      AND CROSS-ACTIONS.
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ATTORNEYS AT LAW                                                DISPUTES
               Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4466 Page 2 of 47



                                                                           TABLE OF CONTENTS
                    1
                                                                                                                                                                     Page
                    2
                        I.       INTRODUCTION ................................................................................................................. 1
                    3
                        II.      FACTUAL BACKGROUND ............................................................................................... 2
                    4
                                 A.        Nature Of The Case ................................................................................................... 2
                    5
                                 B.        Procedural History..................................................................................................... 3
                    6
                                           1.         CDC and Hollandia First Discussed the Nature of the Claims and
                    7                                 Hollandia’s Liability Nearly Six Years Ago During Settlement
                                                      Negotiations Before Magistrate Judge Crawford .......................................... 3
                    8
                                           2.         CDC and the PADs Have Diligently Pursued Settlement Through
                    9                                 Mediation Since 2013.................................................................................... 3
                   10                      3.         Hollandia’s Motion for Judgment on the Pleadings ...................................... 7
                   11                      4.         August 23, 2017 Early Neutral Evaluation Conference ................................ 8
                   12 III.       HOLLANDIA CANNOT SATISFY THE FUNDAMENTAL REQUIREMENTS
                                 FOR DISCOVERY IN FEDERAL COURT – REASONABLE
                   13            PARTICULARITY, RELEVANCE, AND PROPORTIONALITY..................................... 9
                   14            A.        Hollandia’s Hopelessly Overbroad Document Requests Did Not Even Ask
                                           For The Documents Being Sought In this Motion (No Reasonable
                   15                      Particularity) .............................................................................................................. 9
                   16            B.        Hollandia Has Not Shown that the Documents Sought Are Relevant to its
                                           Claims or Defenses (No Relevance) ....................................................................... 13
                   17
                                 C.        The Burden To Produce the Documents Requested is Outweighed by Any
                   18                      Benefit Hollandia Might Achieve (No Proportionality) ......................................... 15
                   19 IV.        HOLLANDIA’S DISCOVERY REQUESTS VIOLATE THE EXPRESS
                                 DISCOVERY LIMITATIONS ORDERED BY THIS COURT ........................................ 17
                   20
                        V.       HOLLANDIA IS NOT ENTITLED TO DISCOVERY OF MEDIATION-
                   21            RELATED COMMUNICATIONS..................................................................................... 18
                   22            A.        The Information Sought Is Privileged ..................................................................... 20
                   23            B.        The Information Sought Is Confidential ................................................................. 23
                   24            C.        The Information Sought Is Inadmissible And Thus Irrelevant Under Rule
                                           408 ........................................................................................................................... 24
                   25
                        VI.      THE ATTORNEY-CLIENT PRIVILEGE, WORK PRODUCT DOCTRINE, AND
                   26            JOINT DEFENSE PRIVILEGE/COMMON INTEREST DOCTRINE PROTECT
                                 DISCOVERY OF THE DOCUMENTS SOUGHT BY HOLLANDIA ............................. 25
                   27
                                 A.        The Documents Withheld Are Protected by the Work Product Doctrine ............... 26
LEWIS              28
BRISBOIS
BISGAARD                4811-7479-6907.1                             i                        12-CV-0334-GPC(KSC)
& SMITH LLP
ATTORNEYS AT LAW              JOINT OPPOSITION TO HOLLANDIA’S MOTION FOR DETERMINATION OF DISCOVERY DISPUTES
               Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4467 Page 3 of 47



                                 B.        The Work Product Documents Sought Are Protected Under the Common
                    1                      Interest Doctrine ...................................................................................................... 30
                    2                      1.         The PADs and CDC Share a Common Interest In Responding to the
                                                      RWQCB and In Prosecuting and Defending The Instant Case ................... 31
                    3
                                           2.         Common Interest is Not Limited to Co-Parties ........................................... 33
                    4
                                           3.         The Participation Agreement Does Not Remove the Threat of
                    5                                 Litigation ..................................................................................................... 34
                    6                      4.         Sharing of Information Between the PADs and CDC Does Not
                                                      Constitute Waiver ........................................................................................ 35
                    7
                                           5.         Hollandia’s Argument that Efforts to Comply with the Investigative
                    8                                 Order and Participation Agreement is not “Legal Advice” Subject to
                                                      Protections is a Red Herring........................................................................ 35
                    9
                        VII.     IF SANCTIONS ARE AWARDED, THEY SHOULD BE AWARDED AGAINST
                   10            HOLLANDIA ..................................................................................................................... 36
                   11            A.        Sanctions Requested by Hollandia are Not Warranted ........................................... 36
                   12            B.        Sanctions Against Hollandia May Be Proper .......................................................... 37
                   13

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LEWIS              28
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& SMITH LLP
ATTORNEYS AT LAW            JOINT OPPOSITION TO HOLLANDIA’S MOTION FOR DETERMINATION OF DISCOVERY DISPUTES
               Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4468 Page 4 of 47




                    1                                                                 Cases
                    2 Avocent Redmond Corp. v. Rose Electronics, Inc.
                             (W.D. Wash. 2007) 516 F. Supp. 2d 1199 ......................................................................... 30
                    3
                      Chaplaincy of Full Gospel Churches v. Johnson
                    4        (D.D.C. 2003) 217 FRD 250 .............................................................................................. 37
                    5 Coleman v. Dydula
                             (W.D.N.Y. 1997) 175 FRD 177 ......................................................................................... 37
                    6
                      Continental Oil Co. v. United States
                    7        (9th Cir. 1964) 330 F.2d 347 .............................................................................................. 31
                    8 Folb v. Motion Picture Industry Pension & Health Plans
                               (CD CA 1998) 16 F.Supp.2d 1164 ......................................................................... 20, 21, 22
                    9
                      Griffith v. Davis
                   10          (C.D. Cal. 1995) 161 F.R.D 687 ............................................................................ 30, 31, 34
                   11 Hunydee v. United States
                              (9th Cir. 1965) 355 F.2d 183 .................................................................................. 30, 31, 34
                   12
                      In re Northrop Grumman Corp. ERISA Litigation
                   13         (C.D. Cal. 2010) 2010 WL 11468584 .......................................................................... 27, 30
                   14 In re RDM Sports Group, Inc.
                              (BC ND GA 2002) 277 BR 415 ......................................................................................... 20
                   15
                      Josendis v. Wall-to-Wall Residence Repairs, Inc.
                   16         (11th Cir. 2011) 662 F.3d 1292 .......................................................................................... 36
                   17 Loustalet v. Refco, Inc.
                              (C.D. Cal. 1993) 154 F.R.D 243 ........................................................................................ 26
                   18
                      Microsoft Corp. v. Suncrest Enterprise
                   19         (N.D. Cal. Jan. 6, 2006) 2006 WL 929257 ........................................................................ 21
                   20 Molina v. Lexmark Intern. Inc.
                             (CD CA 2008) 2008 WL 4447678 ............................................................................... 21, 22
                   21
                      Morvil Technology, LLC v. Ablation Frontiers, Inc.
                   22        (S.D. Cal. 2012) 2012 WL 760603 .................................................................................... 31
                   23 Murphy v. Kmart Corporation
                             (D.S.D. 2009) 259 FRD 421 .............................................................................................. 36
                   24
                      Olen Properties Corp. v. Sheldahl, Inc.
                   25        (C.D. Cal. 1994) 1994 WL 212135 .................................................................................... 31
                   26 Perez v. Clearwater Paper Corp.
                              (D. Idaho 2015) 2015 WL 695331 ..................................................................................... 31
                   27
LEWIS              28
BRISBOIS
BISGAARD                 4811-7479-6907.1                           iii                      12-CV-0334-GPC(KSC)
& SMITH LLP
ATTORNEYS AT LAW             JOINT OPPOSITION TO HOLLANDIA’S MOTION FOR DETERMINATION OF DISCOVERY DISPUTES
               Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4469 Page 5 of 47



                         Phillips v. C.R. Bard, Inc.
                    1             (D. Nev. 2013) 290 F.R.D. 615 .......................................................................................... 27
                    2 Quaker Chair Corporation v. Litton Business Systems, Inc.
                              (S.D.N.Y. 1976) 71 FRD 527....................................................................................... 36, 37
                    3
                      Selcak v. Morgan Whitney Trading Group, Inc.
                    4         (C.D. Cal. 1992) 795 F.Supp. 329 ...................................................................................... 33
                    5 Sheldone v. Pennsylvania Turnpike Commission
                              (WD PA 2000) 104 F.Supp.2d 511 .................................................................................... 20
                    6
                      United States EEOC v. Caesars Entertainment, Inc.
                    7         (D. Nev. 2006) 237 FRD 428 ............................................................................................. 36
                    8 United States ex rel. Burroughs v. DeNardi Corp.
                              (S.D. Cal. 1996) 167 F.R.D 680 ......................................................................................... 31
                    9
                      United States v. American Tel. & Tel. Co.
                   10         (D.C. Cir. 1980) 642 F.2d 1285 ................................................................................... 33, 35
                   11 United States v. Bergonzi,
                              (N.D. Ca. 2003) 216 F.R.D 487 ......................................................................................... 33
                   12
                      United States v. Gallo
                   13         (WD NY 1987) 672 F. Supp. 99 .................................................................................. 20, 21
                   14 United States v. Gonzalez,
                              (9th Cir. 2012) 669 F.3d 974 ............................................................................ 30, 32, 34, 35
                   15
                      United States v. Henke
                   16         (9th Cir. 2000) 222 F.3d 633 .............................................................................................. 30
                   17 United States v. Nobles
                              (1975) 422 U.S. 225 ............................................................................................... 26, 27, 30
                   18
                      United States v. Salyer
                   19         (E.D. Cal. 2012) 853 F. Supp. 2d 1014 .............................................................................. 27
                   20 Waller v. Financial Corp. of America
                              (9th Cir. 1987) 828 F.2d 579 ........................................................................................ 30, 31
                   21
                                                                        Statutory Authorities
                   22
                      Evid. Code, § 1119 .......................................................................................................................... 21
                   23

                   24

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& SMITH LLP
ATTORNEYS AT LAW              JOINT OPPOSITION TO HOLLANDIA’S MOTION FOR DETERMINATION OF DISCOVERY DISPUTES
               Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4470 Page 6 of 47




                    1 I.         INTRODUCTION

                    2            Citizen’s Development Corporation, Inc. (“CDC”), and the Public Agency Defendants,

                    3 County of San Diego, City of San Marcos, City of Escondido, and Vallecitos Water District

                    4 (collectively “PADs”) collectively submit the following Joint Opposition to Hollandia’s Dairy

                    5 Inc.’s Motion for Determination of Discovery Disputes and Request for Sanctions (hereinafter

                    6 “Opposition” and “Discovery Mtn.”). This Opposition is intended to address issues in Hollandia’s

                    7 Discovery Mtn. that are common to CDC and the PADs. To the extent the Discovery Mtn.

                    8 addresses issues that are directed at fewer than all of these parties, CDC and the PADs each will
                    9 submit their individual oppositions as well. By submitting this Opposition, CDC and the PADs in

                   10 no way intend to waive their right or ability to submit and have considered a separate opposition to

                   11 Hollandia’s Discovery Mtn.

                   12            Hollandia’s Discovery Mtn. which seeks, among other things, to compel CDC and the

                   13 PADs to produce privileged documents – some of which are privileged on multiple grounds – is

                   14 ill-conceived and meritless. First, Hollandia has failed to satisfy even the fundamental

                   15 requirements for discovery by showing that the documents sought are identified with reasonable

                   16 particularity and are relevant. In addition, the parties have already produced more than 400,000

                   17 pages of documents to Hollandia and the burden to produce the additional documents requested is

                   18 outweighed by any benefit Hollandia might achieve.

                   19            Moreover, Hollandia’s discovery requests also violate the express discovery limitations

                   20 ordered by this court. Hollandia was permitted to propound discovery solely for the purpose of

                   21 enabling Hollandia to assess a possible settlement. The court expressly prohibited Hollandia from

                   22 pursuing expert discovery at this time. Hollandia’s discovery requests and this motion flout the

                   23 court’s order by seeking information that has nothing to do with settlement, or even the merits,

                   24 and by seeking documents and information that are plainly in conflict the court’s prohibition

                   25 against expert discovery at this time. Hollandia does not complain that it lacks or has been denied

                   26 reports and data regarding the conditions in the Lake and the Watershed, the nature and extent of

                   27 the contamination, and the remedies proposed for remediation – all of which are set forth in the
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               Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4471 Page 7 of 47




                    1 Remedial Investigation/Feasibility Study (“RI/FS”). What Hollandia seeks by way of its

                    2 Discovery Mtn. – and which has nothing to do with liability or damages – are details of the

                    3 parties’ litigation tactics and strategy which are both privileged and outside the discovery

                    4 limitations imposed by the court.

                    5            None of the parties dispute that Hollandia is entitled to communications with the Regional

                    6 Water Quality Control Board (“RWQCB”) and these communications, subject to a few limitations

                    7 in time and scope, either have been produced or in the process of being produced to Hollandia.

                    8 What is at issue are communications between the parties’ counsel and consultants and between the
                    9 consultants themselves as to compliance with the RWQCB’s orders and as to this litigation and the

                   10 mediation being pursued by the parties to resolve the litigation. The information and documents

                   11 being sought are protected from disclosure by the attorney-client privilege, the attorney work

                   12 product doctrine, the joint defense privilege/common interest privilege, and the mediation

                   13 privilege. In some cases, all of these privileges apply.

                   14            The motion should be denied in its entirety, and, in the event that the court considers

                   15 sanctions appropriate, they should be awarded against Hollandia, not CDC and the PADs.

                   16 II.        FACTUAL BACKGROUND

                   17            A.        Nature Of The Case

                   18            This is an action for response costs under the Comprehensive Environmental Response,

                   19 Compensation, and Liability Act (“CERCLA”), among other claims, arising from the alleged

                   20 release and discharge of hazardous substances which allegedly caused Lake San Marcos to

                   21 become contaminated. The resulting contamination has allegedly caused harm, including, but not

                   22 limited to, fish kills, algae blooms and nuisance odors, in addition to the degradation of beneficial

                   23 uses of lake waters.

                   24            Originally created in 1946, the lake is a privately-owned impoundment located in the

                   25 Upper San Marcos Creek Watershed (“watershed”) in northern San Diego County, California. On

                   26 September 20, 2011 the RWQCB issued Investigative Order No. R9-2011-0033 (“IO”) to CDC to

                   27 investigate the underlying contamination. In approximately June 2011, the Public Entities, other
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               Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4472 Page 8 of 47




                    1 than Escondido, entered into a Voluntary Participation Agreement with the RWQCB to similarly

                    2 address contamination at the lake and creek and Escondido entered into a Cooperation Agreement

                    3 regarding the same subject matter. Both CDC and the PADs were subject to regulatory agency

                    4 directives, either by order or agreement, to investigate and to prepare a plan to address the subject

                    5 contamination. Thus, CDC and the PADs have shared a common interest in responding to the

                    6 RWQCB since at least 2011.

                    7            B.        Procedural History

                    8                      1.    CDC and Hollandia First Discussed the Nature of the Claims and
                    9                            Hollandia’s Liability Nearly Six Years Ago During Settlement

                   10                            Negotiations Before Magistrate Judge Crawford

                   11            On June 26, 2012, the parties attended the Early Neutral Evaluation Conference before the

                   12 Honorable Karen S. Crawford for the purpose of discussing possible settlement. At that

                   13 conference, Hollandia began its mantra that it needed more information to understand the nature of

                   14 the claims against Hollandia. After the case did not settle, the Court issued an order on June 29,

                   15 2012 (Dkt. No. 51) directing CDC and Hollandia to continue discussing settlement options. As

                   16 part of that process, CDC provided Hollandia and this Court with additional information related to

                   17 Hollandia. After reviewing the information provided by CDC, this Court did not request that any

                   18 further information be provided to Hollandia.

                   19                      2.    CDC and the PADs Have Diligently Pursued Settlement Through

                   20                            Mediation Since 2013

                   21            Since approximately March 2013, CDC and the PADs have been working closely in

                   22 private mediation to move the case towards settlement. CDC and the PADs have undertaken

                   23 numerous joint tasks aimed at advancing the case forward in a cooperative manner, not only to

                   24 avoid costly and protracted litigation, but also to potentially resolve all claims by having the

                   25 mediator allocate liability for purposes of settlement. The confidential setting of the mediation also

                   26 allowed the parties to cooperatively work together to provide a joint response to the RWQCB in

                   27 the form of the RI/FS to satisfy CDC’s and the PADs’ respective obligations under the IO, the
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& SMITH LLP
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               Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4473 Page 9 of 47




                    1 Participation Agreement, and the Cooperation Agreement and to provide estimated remediation

                    2 costs.

                    3            On January 8, 2014 (Dkt. No. 94), the Court ordered the lawsuit stayed to allow the parties

                    4 to pursue settlement through mediation, which included conducting the mediation allocation

                    5 proceeding. (See 1/8/14 Order Granting Joint Motion to Stay Action Pending Mediation (Dkt. No.

                    6 94); see also 12/20/13 Joint Motion to Stay Action Pending Mediation (Dkt. No. 92)). CDC and

                    7 the PADs engaged in extensive efforts to encourage Hollandia’s participation in mediation at that

                    8 time, but Hollandia consistently refused. (See 7/25/14 Joint Status Report (Dkt. No. 99)).
                    9            When Hollandia was originally invited to participate in the joint mediation efforts, CDC

                   10 and the PADs required that Hollandia agree to split the costs of data collection and other joint

                   11 efforts equally between all parties. (See, e.g., 12/13/13 Status Report of CDC (Dkt. No. 91) at 2;

                   12 Declaration of Timothy Gallagher, filed 12/13/13 (Dkt. No. 91-4) at ¶¶ 6, 8-14; 3/27/15 Joint

                   13 Status Report (Dkt. No. 116) at 4). Later, CDC and the PADs agreed to remove the alleged

                   14 financial barriers to Hollandia’s participation by asking that Hollandia pay only a one-sixth share

                   15 of the mediator’s fees going forward, yet Hollandia still refused to participate. (See 3/27/15 Joint

                   16 Status Report (Dkt. No. 116) at 2-4, Exs. 1-2).

                   17            Beginning in mid-May 2015, Hollandia agreed to participate in mediation on a limited

                   18 basis. Specifically, Hollandia agreed to participate in the mediated allocation process, but declined

                   19 to participate in or fund the environmental investigation and data collection, technical committee

                   20 meetings, or the RI/FS process. In advising the Court of its participation in mediation, Hollandia

                   21 expressly acknowledged a key limitation in its access to expert materials as a result of its decision

                   22 not to share in joint costs, stating:

                   23                      Because Hollandia would not agree to pay for ongoing consultant fees,
                                           however, the other parties indicated they would exclude Hollandia
                   24
                                           from any meetings, discussions, data, documents, et cetera, generated
                   25                      by the consultants until such information became public. Hollandia
                                           accepted that limitation.
                   26

                   27 (9/4/15 Joint Status Report (Dkt. No. 134), Ex. 1 at 2:25-28 (Emphasis added in part)). Hollandia
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4474 Page 10 of 47




                    1 also acknowledged that it understood the mediated allocation process to include the preparation of

                    2 a common interest report by CDC and the PADs in response to RWQCB directives.
                                   The other parties have incurred costs, and will continue to incur larger
                    3              additional costs, to comply with the Regional Water Quality
                    4              Control Board’s Investigative Order dated September 10, 2011
                                   (“IO”), regarding San Marcos Creek and Lake San Marcos, to address
                    5              nutrients. The costs also are being incurred to develop Best
                                   Management Practices so that the Public Agency parties can better
                    6              control current nutrient loading from the watershed. That is
                                   necessary for the agencies to comply with the IO as well as their
                    7              stormwater pipe permit requirements now and in [sic] future. Their
                    8              current actions will also allow the agencies to avoid being more
                                   strictly regulated by the U.S. E.P.A. regarding nutrients passing
                    9              through the stormwater pipes in 2019.

                   10 Id. at 2:3-12 (Emphasis added).

                   11            Mediation efforts have included the following:

                   12                          a.      Modified FRCP 26 Document Exchange Process

                   13            In 2014, CDC and the PADs agreed to a “modified” Federal Rule of Civil Procedure, Rule

                   14 26 Initial Disclosure document exchange process to allow them to collect evidence necessary to

                   15 address the questions of liability and allocation. (See 9/28/16 Joint Status Report (Dkt. No. 178) at

                   16 4). Upon agreeing to participate in mediation, Hollandia also participated in this modified Rule 26

                   17 exchange. Hollandia had the opportunity to review over 1,100 boxes of documents, ledgers and

                   18 other items made available by the other parties. In addition, Hollandia already had access to the

                   19 publicly-available testing records, reports, communications and other documents on file with the

                   20 RWQCB related to the investigation at the lake and creek.

                   21            Between June and August 2016, the parties participated in another round by exchanging

                   22 supplemental document productions.

                   23                          b.      Diagnostic Efforts to Evaluate Environmental Conditions in and

                   24                                  around Lake San Marcos and San Marcos Creek

                   25            CDC and the PADs agreed to jointly fund the collection of monitoring and sampling data

                   26 as part of ongoing diagnostic work and investigation in and around Lake San Marcos and San

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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4475 Page 11 of 47




                    1 Marcos Creek. Hollandia declined to participate in this diagnostic work. (Troy Decl. ¶ 12 & 13;

                    2 9/28/16 Joint Status Report at 4-5.)

                    3                          c.      Technical Consultant Working Group

                    4            As part of the joint diagnostic work at Lake San Marcos, CDC and the PADs formed a

                    5 technical consultant working group consisting of their respective environmental consultants and

                    6 experts. This technical committee attends weekly teleconferences and communicates frequently to

                    7 address data collection needs, the RI/FS, and other technical issues as they arise. The technical

                    8 group also interfaces with the jointly-retained consultants and RWQCB staff. CDC and the PADs
                    9 told Hollandia that if it agreed to participate in the funding of these efforts, Hollandia’s

                   10 consultants would be permitted to participate in the technical committee teleconferences and other

                   11 communications. Hollandia declined. (Troy Decl. ¶ 12 & 13; 9/28/16 Joint Status Report at 5.)

                   12                          d.      Computer Modeling Efforts

                   13            CDC and the PADs, through a jointly-retained computer modeling consultant, developed

                   14 two independent computer models to assist the parties in evaluating potential remediation

                   15 strategies for the lake and surrounding watershed, among other goals. (9/28/16 Joint Status Report

                   16 at 5). Although Hollandia declined to participate in the development of either of the two computer

                   17 models, the other parties provided the modeling data to Hollandia.

                   18                          e.      RI/FS Process

                   19            CDC and the PADs jointly funded the preparation of the RI/FS as part of mediation. Id. at

                   20 5-6. The goal of the RI/FS process, as it relates specifically to the lake, creek, and watershed, is to

                   21 allow the parties to gather sufficient information to make informed decisions on potential remedial

                   22 actions, and to develop a comprehensive and reliable restoration strategy that satisfies RWQCB

                   23 and USEPA requirements, and incorporates community input. The RI/FS also allows the parties to

                   24 determine the estimated remediation costs for purposes of settlement.

                   25            On June 5, 2017, the RWQCB approved the final RI/FS report. (Declaration of Jeffery L.

                   26 Caufield (“Caufield Decl.”) ¶ 11, Ex. 3.) Hollandia declined to participate in the preparation of the

                   27 RI/FS report. (9/28/16 Joint Status Report at 6). Nevertheless, Hollandia was allowed to
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4476 Page 12 of 47




                    1 participate during the public comment period and submitted comments to the Regional Board

                    2 outlining various objections and concerns. Hollandia has had access to the publically-available

                    3 RI/FS and supporting documents, as mentioned above.

                    4                           f.     Determining Allocation of Liability for Settlement Purposes

                    5            In March and October 2016, the parties gave their formal presentations to the mediator as

                    6 part of the mediated allocation proceeding. (Id. at 6-7; see also 2/9/17 Joint Status Report (Dkt.

                    7 No. 189) at 2.) The purpose of this proceeding was to allow the mediator to recommend an

                    8 equitable allocation of liability for all parties based on the expert arguments and evidence
                    9 presented, which the parties and their respective insurance carriers could use as a basis for

                   10 settlement negotiations.

                   11            Although the mediator had expressed confidence that the case was likely to settle given the

                   12 parties involved, the amount at issue and the various insurance carriers participating, settlement

                   13 negotiations were hampered due to the failure of Hollandia’s insurance carriers to participate in a

                   14 key mediation session, followed by Hollandia’s withdrawal from mediation at a critical time. On

                   15 November 3, 2016, Hollandia formally withdrew from mediation, claiming “[i]t is apparent the

                   16 case cannot settle at this time for various reasons, including the need for this Court to rule on the

                   17 threshold issue of whether nutrients are ‘hazardous substances’ under CERCLA as part of the

                   18 Motion for Judgment on the Pleadings to be heard on April 21, 2017.” (Notice of Hollandia Dairy,

                   19 Inc.’s Withdrawal from Mediation, filed November 3, 2016 (Dkt. No. 182) at 1:27-2:2).

                   20                      3.   Hollandia’s Motion for Judgment on the Pleadings

                   21            Since the inception of this case, Hollandia has repeatedly argued CDC’s lawsuit has no

                   22 merit because, according to Hollandia, animal manure and other dairy wastes are not “hazardous

                   23 substances” under CERCLA. In November 2016, Hollandia formally withdrew from mediation in

                   24 order to test its theory by way of a motion for judgment on the pleadings. (See Notice of Hollandia

                   25 Dairy, Inc.’s Withdrawal from Mediation, filed November 3, 2016 (Dkt. No. 182)).

                   26            By order dated March 24, 2017 (Dkt. No. 207), the Court denied Hollandia’s motion in its

                   27 entirety, noting that CDC had adequately pled the existence of hazardous substances.
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4477 Page 13 of 47




                    1                      4.   August 23, 2017 Early Neutral Evaluation Conference

                    2            On August 23, 2017, the parties and their respective carriers attended an Early Neutral

                    3 Evaluation conference before Magistrate Crawford. Same as before, Hollandia repeated its mantra

                    4 that it was unable to participate in meaningful settlement negotiations due to a lack of discovery.

                    5            Following the ENE, Magistrate Judge Crawford indicated that she desired to proceed

                    6 forward with a mandatory settlement conference in February 2018 after Hollandia had been

                    7 allowed to conduct “limited” discovery for purposes of settlement. CDC and the PADs were

                    8 concerned, however, that Hollandia’s proclaimed need to conduct discovery for settlement
                    9 purposes was a ploy to discover expert communications associated with the mediation which

                   10 would almost certainly result in lengthy discovery battles. In discussing the proposed discovery

                   11 plan with the parties during the October 13, 2017 Case Management Conference (see 8/29/17

                   12 Order (Dkt. No. 213)), Judge Crawford verbally admonished Hollandia’s counsel that no party,

                   13 including Hollandia, would be allowed to conduct expert discovery as part of the initial, limited

                   14 discovery phase. The Court’s Order of October 17, 2017 expressly prohibits expert discovery at

                   15 this time. (See 10/17/17 Order (Dkt. No. 214) at 2:1-2 (“No Expert discovery will be permitted at

                   16 this time.”).)

                   17            Despite Judge Crawford’s verbal admonishment and the Court’s discovery order making

                   18 clear that no expert discovery would be allowed, Hollandia did the exact opposite by serving

                   19 overbroad discovery that necessarily includes expert communications during the course of

                   20 mediation. To go one step further, Hollandia now demands by way of this voluminous discovery

                   21 motion that CDC and the PADs produce the very same expert discovery the Court instructed at

                   22 least two separate times would not be permitted. Hollandia’s continued tactics to delay and disrupt

                   23 settlement negotiations are unacceptable, and mark a clear violation of the Court’s October 17,

                   24 2017 discovery order.

                   25 / / /

                   26 / / /

                   27 / / /
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4478 Page 14 of 47




                    1 III.       HOLLANDIA CANNOT SATISFY THE FUNDAMENTAL REQUIREMENTS FOR

                    2            DISCOVERY IN FEDERAL COURT – REASONABLE PARTICULARITY,

                    3            RELEVANCE, AND PROPORTIONALITY

                    4            Hollandia is unable to overcome the most basic requirements for discovery in federal

                    5 courts: reasonable particularity, relevance, and proportionality. This section addresses each of

                    6 these three requirements.

                    7            A.        Hollandia’s Hopelessly Overbroad Document Requests Did Not Even Ask For

                    8                      The Documents Being Sought In this Motion (No Reasonable Particularity)
                    9            Discovery requests must be stated with “reasonable particularity” FRCP 34(b)(1)(A). This

                   10 Court has recognized:

                   11                      Generally, a discovery request without any temporal or other
                                           reasonable limitation is objectionable on its face as overly broad.
                   12                      See, e.g., Ehrlich v. Union Pacific R.R. Co., 302 F.R.D. 620, 625 (D.
                                           Kan. 2014); Johnson v. Kraft Foods North America, Inc., 236
                   13                      F.R.D. 535, 541-542 (D. Kan. 2006). A document request or
                                           interrogatory is also overly broad or unduly burdensome on its face
                   14                      if it: “(1) uses an omnibus term such as ‘relating to’ or ‘concerning,’
                                           and (2) applies to a general category or group of documents or a
                   15                      broad range of information.” Moses v. Halstead, 236 F.R.D. 667,
                                           672 (D. Kan. 2006). “Despite the overly broad nature of [a
                   16                      discovery request], a party typically has a duty to respond to it to the
                                           extent the [discovery request] is not objectionable and can be
                   17                      narrowed to an appropriate scope.” Id. “This rule does not apply,
                                           however, and the Court will not compel further response, when
                   18                      inadequate guidance exists to determine the proper scope of the
                                           [discovery request].”
                   19

                   20 Sanchez Ritchie v. Energy (S.D. Cal., Mar. 30, 2015, No. 10CV1513-CAB(KSC) 2015 WL

                   21 12914435, at *2. Neither Hollandia’s requests, nor the somewhat more narrowly crafted requests

                   22 Hollandia has just identified in this motion, meet the particularity test.

                   23            Section I of Hollandia’s discovery motion identifies five categories of documents it seeks

                   24 to obtain through this motion. (Discovery Mtn. at 2-3). These categories are: 1) Communications

                   25 Between: a. Counsel and non-client parties; b. Counsel and . . . consultants regarding technical

                   26 matters relating to compliance with the IO/PA where the dominant purpose was not legal advice;

                   27 c. Consultants and non-client parties; d. Communications and documents prepared or compiled by
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4479 Page 15 of 47




                    1 consultants as part of their work to comply with the IO/PA; 2. Communications outside of formal

                    2 mediation, including communications between: a. Counsel and non-client parties and/or the non-

                    3 client consultants; 3. Communications with the Regional Board, including: a. Consultants’

                    4 communications and meetings with the Regional Board; and b. Counsel’s communications/notes

                    5 with the Regional Board. (Some, but not all, of the RI/FS Parties have produced e-mails for 3.a

                    6 and b); 4. Technical work reflected in communications and documents prepared and compiled by

                    7 consultants as part of their work to comply with the IO/PA; and 5. Communications between the

                    8 RI/FS Parties’ counsel or consultants with a separate group of consultants hired specifically to do
                    9 lake and watershed modeling and to prepare the certified RI/FS for submission to the Regional

                   10 Board.

                   11             At the outset, it should be noted that none of the PADs or CDC are arguing that

                   12 communications with the RWQCB are privileged. The PADs and CDC agree these documents are

                   13 not protected and, subject to reasonable limitations in time and scope, have been or will be

                   14 produced. (Declaration of Athena Troy (“Troy Decl.”) ¶ 16; Declaration of Rudy Perrino

                   15 (“Perrino Decl.) ¶ 15 ; Caufield Decl. ¶ 6; Declaration of Ernest Slome (“Slome Decl.”) ¶ 6;

                   16 Declaration of Josh Levine (“Levine Decl). ¶ 7.) Hollandia’s third category is therefore a non-

                   17 issue and will not be addressed in this briefing.

                   18             As to the other four categories, Hollandia has not identified which of its requests for

                   19 production, if any, correlate to any of these categories. As best we can tell, these four categories

                   20 appear to be subsumed within a few much more broadly worded production requests that were

                   21 made to the parties. These requests asked for documents “referring or related to”

                   22             1) “YOUR COMMUNICATIONS with any PARTY other than the RWQCB

                   23             relating in any manner to the IO, including the RI/FS and PARTY

                   24             ARRANGEMENTS1:

                   25 / / /

                   26
                        1
                              See RFP No. 6 to the Vallecitos Water District; RFP No. 9 to CDC; and RFP No. 9 to County of San Diego and
                   27 the City of San Marcos; no request with this language was submitted to the City of Escondido.
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4480 Page 16 of 47




                    1            2) As to the PADs - “ARRANGEMENTS YOU have ever had with any other

                    2            PARTY relating in any manner to the instant litigation” and as to CDC

                    3            “ARRANGEMENTS that YOU have ever had with any other PARTY that relates

                    4            in any way to the ENVIRONMENTAL CONDITIONS at the LAKE since it was

                    5            created.” 2 and,

                    6             3) YOUR COMMUNICATIONS with any PARTY. . . . relating in any manner to

                    7            the IO, including but not limited to the RI/FS and Party Arrangements3.” Each of

                    8            these requests is blatantly overly broad on their face.
                    9            These requests for production are vague and ambiguous, contain absolutely no limitations

                   10 in time, and provide little to no guidance as to scope. Hollandia’s use of the omnibus phrase

                   11 “referring or related to” makes it impossible for the parties to understand what exactly is being

                   12 requested. These requests, as worded, could potentially capture every single communication

                   13 concerning Lake and Creek that CDC and the PADs (which is defined to include not only

                   14 employees but also attorneys and its consultants) have ever sent to or received from anyone in the

                   15 entire world since the Lake was constructed in 1946. CDC and the PADs cannot possibly be

                   16 expected to respond to such ridiculously overbroad demands.

                   17            Presumably because Hollandia has now realized that it has a serious problem with

                   18 reasonable particularity, it has now attempted in this motion to narrow and rewrite its discovery

                   19 requests and limit them to the five categories set forth in Section I of its motion. Still, yet again,

                   20 none of these new categories contain any limitations in time, nor do they provide sufficient

                   21 guidance so as to allow the parties to determine the scope of what is being requested.

                   22            The first category contains four separate subcategories and is unnecessarily verbose,

                   23 confusing, and is barely comprehensible. As with the original document requests referenced

                   24

                   25   2
                            See RFP No. 12 to the Vallecitos Water District ; RFP No. 13 to CDC; and RFP No. 18 to County of San Diego
                   26   and the City of San Marcos; and RFP No. 16 to the City of Escondido.
                        3
                            See RFP No. 13 to the Vallecitos Water District; RFP No. 16 to CDC; and RFP No. 19 to the County of San
                   27 Diego and the City of San Marcos; and RFP No. 9 to the City of Escondido.
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4481 Page 17 of 47




                    1 above, this category appears to include every single communication concerning Lake and Creek

                    2 that the other parties have ever sent to or received from anyone in the entire world ever.

                    3            The second category asks for “communications outside the formal mediation.” There is no

                    4 limitation whatsoever as to scope. Is Hollandia asking for any communication ever by any of the

                    5 other parties, their attorneys, or their consultants about anything not part of a “formal mediation”?

                    6 It also became quite clear during the parties’ meet and confer efforts that the parties do not agree

                    7 upon what is considered “inside” or “outside” the mediation. The term “formal” is also not

                    8 defined. Does Hollandia contend that some aspects of the mediation were “formal” and some were
                    9 “informal”?

                   10            As argued in other sections, the mediation privilege is broad. It does not make a distinction

                   11 between “formal” and “informal,” for clear policy reasons. Even if such a distinction existed, what

                   12 criteria are CDC and the PADs supposed to use in order to distinguish between the two?

                   13            Category four uses the phrase “technical work,” which is also unclear and not defined. This

                   14 category also refers to “work to comply with the IO/PA,” but the truth is that there is simply no

                   15 logical or practical way for CDC and the PADs to separate their consultants’ work related to the

                   16 RWQCB regulatory process from privileged and protected work performed as part of the

                   17 mediation and the instant litigation. The work serves both purposes and is essential to both. Thus,

                   18 as set forth more fully in Section VI-A below, these documents and communications are all

                   19 privileged. This request provides no guidance as to how the parties are supposed to make this

                   20 distinction as it appears to encompass any work ever done by any of the parties’ individually and

                   21 jointly retained consultants.

                   22            Finally, category five refers to “a separate group of consultants hired specifically to do lake

                   23 and watershed modeling and to prepare the certified RI/FS for submission to the Regional Board.”

                   24 This request has all of the same issues as category four, discussed above. The request also does not

                   25 explain what specific persons or entities are intended to be included within this “separate group of

                   26 consultants.” Hollandia is fully aware of the names of all of the consultants that were jointly

                   27 retained by the other parties in connection with the remediation efforts because this information is
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4482 Page 18 of 47




                    1 publically available in reports that can be downloaded on the RWQCB’s geotracker website.

                    2 Despite this, Hollandia has failed to identify any single consultant by name.

                    3            Because Hollandia has not made a reasonable attempt to narrow its overly broad requests,

                    4 this Court should not accept Hollandia’s invitation to rewrite its document requests to conform to

                    5 the categories that Hollandia has newly-identified in this motion. “Particularly when a party stands

                    6 on an overly broad request and does not make a reasonable attempt to narrow it or to explain the

                    7 need for such a broad range of documents and/or information, the Court will not ‘rewrite a party’s

                    8 discovery request to obtain the optimum result for that party. That is counsel’s job.’ [Citation
                    9 omitted.]” Sanchez Ritchie v. Energy, No. 10cv1513-CAB(KSC), 2015 WL 12914435, at p. 3

                   10 (S.D. Cal., March 30, 2015), quoting Bartolome v. City and County of Honolulu, No. CIV. 06-

                   11 00176SOMLEK, 2008 WL 2736016, at *14 (D. Hawaii, July 14, 2008), emphasis added.

                   12            Because Hollandia’s document requests as well as the newly defined categories stated in

                   13 this motion lack reasonable particularity, this motion should be denied on its face without any

                   14 need to consider any of the numerous privilege and other issues raised by Hollandia in its motion.

                   15            B.        Hollandia Has Not Shown that the Documents Sought Are Relevant to its

                   16                      Claims or Defenses (No Relevance)

                   17            The 2015 amendments to Rule 26 “eliminated the ‘reasonably calculated’ phrase as a

                   18 definition for the scope of permissible discovery.” In re Bard IVC Filters Products Liability

                   19 Litigation, 317 F.R.D. 562, 564 (D. Ariz. 2016). “The test going forward is whether evidence is

                   20 ‘relevant to any party’s claim or defense,’ not whether it is ‘reasonably calculated to lead to

                   21 admissible evidence.’” Id. at 564. The party seeking to compel discovery has the burden of

                   22 establishing that its requests satisfy the relevancy requirements of Federal Rule 26(b)(1). Soto v.

                   23 City of Concord, 162 F.R.D. 603, 610 (N.D. Cal. 1995). Hollandia has not met this burden.

                   24            Hollandia’s only argument is that it needs these documents in order to show how the

                   25 “RI/FS Parties chose to comply with the IO/PA, reconcile differences, and how the RI/FS Parties

                   26 colluded to engineer a bias in the direction and nature of testing and modeling to Hollandia’s

                   27 detriment and to conceal exculpatory information.” (Discovery Mtn., p. 3.) Hollandia further
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4483 Page 19 of 47




                    1 argues that “[t]he discovery sought goes to the heart of the RI/FS Parties perceived attempt to

                    2 stigmatize Hollandia and unfairly shift liability to Hollandia by directing their consultants to

                    3 perform investigations with predetermined outcomes and failing to acknowledge and disclose

                    4 exculpatory evidence.” (Declaration of John Reaves, dated May 17, 2018, ¶ 49.) This fallacious

                    5 “strawman” argument, which is the entire predicate of Hollandia’s Discovery Mtn., is completely

                    6 absurd and hardly merits a response.

                    7              To wit, Hollandia makes no evidentiary showing of any collusion or bias outside of

                    8 Hollandia’s counsels’ personal opinions. The fact that Mr. Reaves disagrees with the opinions’
                    9 and recommendations found in the RI/FS is not evidence of bias. Hollandia completely overlooks

                   10 the fact that the purpose of the RI/FS was not to allocate liability. Its purpose was to evaluate risks

                   11 and potential remedial options, and it did not make any findings or conclusions as to liability of

                   12 any particular party.4

                   13              Further, Hollandia does not argue that it does not have ALL of the data, documents and

                   14 actual computer models it needs to present its claims and defenses. The results of the parties’

                   15 regulatory efforts have already been made publically available on the RWQCB’s website. These

                   16 documents go into great detail as to the consultants’ methodologies, recommendations, and

                   17 opinions as to how to clean up the contamination. CDC and the PADs have already produced all

                   18 additional documents which are material to the factual and legal questions at issue between the

                   19 parties. Counsel for the VWD has estimated that the total volume of CDC and the PADs

                   20 production contains approximately 402,614 pages of documents. (Troy Decl., Exh. A5.)

                   21              Even if “bias” against Hollandia somehow existed, the entire the RI/FS process and the

                   22 science behind it was reviewed by an unbiased regulatory agency. Hollandia was allowed to and

                   23 did participate fully in this process. It submitted a number of arguments and opinions to the

                   24
                        4
                            “The remedial investigation and feasibility study (RI/FS) process as outlined in this guidance represents the
                   25 methodology that the Superfund program has established for characterizing the nature and extent of risks posed by
                        uncontrolled hazardous waste sites and for evaluating potential remedial options.” U.S. Environmental Protection
                   26 Agency, EPA/540/G-89/004, Guidance for Conducting Remedial Investigations and Feasibility Studies Under
                        CERCLA at 1-3 (1988).
                   27   5
                          These documents are summarized in Exhibits A and B to the Troy Decl.
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4484 Page 20 of 47




                    1 Regional Water Board in opposition to the draft RI/FS and the Final RI/FS was approved over

                    2 Hollandia’s objections. Hollandia failed to file any administrative action challenging the Regional

                    3 Board’s approval of the RI/FS, and it is now time barred from doing so.6

                    4              Plainly, the entire purpose of Hollandia’s motion is to gain access to the other parties’

                    5 litigation strategies and expert opinions in order to provide Hollandia with discovery of no

                    6 relevance. Hollandia is not entitled to this this discovery and it should not be permitted.

                    7              C.      The Burden To Produce the Documents Requested is Outweighed by Any

                    8                      Benefit Hollandia Might Achieve (No Proportionality)
                    9              Hollandia has also failed to establish that the documents it seeks are “proportional to the

                   10 needs of the case.” FRCP 26(b)(1). “[A] court may limit discovery of relevant material if it

                   11 determines that the discovery sought is unreasonably cumulative or duplicative, or obtainable from

                   12 some other source that is more convenient, less burdensome, or less expensive, or the burden or

                   13 expense of the proposed discovery outweighs the likely benefit.” Hernandez v. Best Buy Co., No.

                   14 13CV2587, 2014 WL 5454505, at *1 (S.D. Cal. Oct. 27, 2014). All parties are required to

                   15 consider the proportionality factors when serving or responding to discovery requests and the

                   16 court must do so in ruling on discovery matters. FRCP 26(b)(1) & (g); Adv. Comm. Notes to 2015

                   17 Amendments to FRCP 26 [“The parties and the court have a collective responsibility to consider

                   18 the proportionality of all discovery and consider it in resolving discovery disputes.”]

                   19              Hollandia is asking for the parties to produce all of their attorney-attorney, consultant-

                   20 consultant, or consultant-attorney communications related to their RWQCB regulatory process.

                   21 These efforts date back to at least 2005. Counsel for CDC and the PADs estimate that potentially

                   22
                        6
                            Hollandia failed to exhaust its administrative remedies by not timely challenging the RWQCB’s approval of the
                   23 RI/FS. The RWQCB is the agency authorized by statute to perform the quasi-adjudicative and quasi-legislative
                        actions of requiring reports of actual or proposed waste discharge into state waterways (CAL. WATER CODE §
                   24 13260) and the RWQCB has the power under section 13273, subdivisions (a) through (e), to obtain and evaluate and
                        accept reports (including RI/FS reports) and then to order remedial action to be taken, under section 13300. Decisions
                   25 and orders of a RWQCB are reviewable by administrative appeal to the State Water Board and only then by petition
                        for administrative mandamus in the superior court. Monterey Coastkeeper v. Monterey County Water Resources
                   26 Agency, 18 Cal.App.5th 1, 14 (Cal.Ct.App. 2017); CAL. CODE CIV. PROC. § 1094.5; CAL. WATER CODE, §§
                        13320, 13330. Further, challenges to the State Water Board made after the time frame allotted by the Water Code are
                   27 time barred. Phelps. v. State Water Resources Control Board, 157 Cal.App.4th 89, 105 (Cal.Ct.App. 2017).)
LEWIS              28
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4485 Page 21 of 47




                    1 responsive documents collectively between them measure into hundreds of thousands. The effort

                    2 involved to locate, review, and prepare a privilege log as each of these documents would take a

                    3 minimum of 3,750 hours of attorney time. This is equivalent to at least two years’ worth of work if

                    4 it were to be done full time by a single attorney. (Troy Decl. ¶ 5.)

                    5            Given the tremendous amount of effort that would be required, Hollandia would need to

                    6 establish that obtaining these communications is of critical importance to Hollandia’s needs in this

                    7 case. As discussed above, Hollandia cannot show that the documents requested are even relevant,

                    8 let alone show that the great burden of production of these records is outweighed by any possible
                    9 benefit that Hollandia might obtain.

                   10            Hollandia has addressed the proportionality requirement by arguing that “any burden

                   11 would be due to the RI/FS Parties asserting improper privileges and failing to segregate true

                   12 privileged material from discoverable material.” (Discovery Mtn., p. 23.) This argument makes no

                   13 sense whatsoever. There is no obligation under the Federal Rules for litigants to 1) anticipate what

                   14 documents will be requested by another litigation, or to 2) determine in advance of any discovery

                   15 request what communications are and are not privileged. Further this argument simply does not

                   16 respond to the fact that what Hollandia is asking CDC and the PADs to do is unduly burdensome

                   17 and is extremely disproportionate to Hollandia’s needs.

                   18            Hollandia also insists that the parties must provide adequate privilege logs (Discovery

                   19 Mtn., pp. 23-24), yet it overlooks the fact that the vast majority of the documents that it is seeking

                   20 are communications that have occurred since this lawsuit was filed in the instant action in

                   21 February 2012. This Court has previously recognized that privilege logs “are commonly limited to

                   22 documents created before the date litigation was initiated.” Hernandez v. Best Buy Co., No.

                   23 13CV2587, 2014 WL 5454505, at *10 (S.D. Cal. Oct. 27, 2014) (citing U.S. v. Bouchard Transp.,

                   24 2010 WL 1529248, at *2 (E.D.N.Y.2010) (noting that “privilege logs are commonly limited to

                   25 documents created before the date litigation was initiated”). It would be unduly burdensome and

                   26 oppressive to require CDC and the PADs prepare detailed privilege logs encompassing

                   27 communications dating back since the litigation started over six years ago.
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4486 Page 22 of 47




                    1       Hollandia has failed to prove that its need to obtain the documents sought in this motion

                    2 outweighs the massive amount of effort that would be required for the other parties to locate,

                    3 produce, and prepare a privilege log. For this reason alone, Hollandia’s motion should be denied.

                    4 IV.        HOLLANDIA’S DISCOVERY REQUESTS VIOLATE THE EXPRESS

                    5            DISCOVERY LIMITATIONS ORDERED BY THIS COURT

                    6            The Court clarified at the outset that it was only lifting the discovery stay in this case for

                    7 the purpose of forwarding settlement negotiations. This was largely based on Hollandia’s

                    8 insistence that it needed to conduct discovery for purposes of assessing possible settlement.
                    9 Specifically, Hollandia represented to the Court that the discovery it sought as part of this initial

                   10 limited discovery phase would be specifically tailored to particular issues and information

                   11 necessary to assess settlement. (See Hollandia’s Part of Joint Rule 26(f) Report and Discovery

                   12 Plan, lodged September 29, 2017, at 2:9-11) (“To assess settlement possibilities, Hollandia seeks

                   13 to perform a limited and focused amount of discovery on core issues . . . .”) (Emphasis added).

                   14 Subsequently, the Court ordered “limited discovery,” with certain restriction on what could be

                   15 propounded. (See 10/17/17 Scheduling Order Regulating Discovery (Dkt. No. 214)). However,

                   16 despite Hollandia’s representations that it would pursue only “limited and focused” discovery,

                   17 Hollandia’s discovery requests are broadly stated to seek all facts, documents, and witnesses

                   18 concerning general subject matter over the course of many decades, with little to no bearing on the

                   19 parties’ claims and defenses, and do nothing to help advance the case towards settlement.

                   20 Importantly, at no point in the Discovery Mtn. does Hollandia explain how any of the information

                   21 requested will enable Hollandia and its carriers to participate in meaningful settlement

                   22 negotiations. Hollandia’s demand for production of documents and information far beyond that

                   23 contemplated by the Court in lifting the discovery stay is inappropriate and should not be

                   24 permitted.

                   25            Further, the PADs and CDC expressed to the Court a specific concern that Hollandia

                   26 would use this limited discovery process to attempt to gain privileged expert communications

                   27 made during CDC and the PADs’ creation of the RI/FS, the creation of which was agreed upon as
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4487 Page 23 of 47




                    1 a part of the mediation process. The court made clear that expert discovery was inappropriate and

                    2 not within the limited scope of discovery the Court was allowing. The court directed that, “No

                    3 Expert discovery will be permitted at this time.” (10/17/17 Order at ¶ 4) (Emphasis added).

                    4 Despite the Court’s specific instructions not to use this limited discovery period to delve into

                    5 expert discovery, this is exactly what Hollandia is attempting to do. The bulk of Hollandia’s

                    6 requests seek just that: expert communications that happened as a part of the PADs’ and CDC’s

                    7 drafting of the RI/FS during the mediation process. Moreover, Hollandia devotes the first twenty-

                    8 five (25) pages of its Discovery Motion to explaining why it believes it is entitled to these expert
                    9 communications. Hollandia’s requests for these expert communications, along with Hollandia’s

                   10 ardent insistence that it is entitled to such expert discovery in its Discovery Motion, are in direct

                   11 violation of the Court’s Discovery Order and should be denied on that basis alone.

                   12 V.         HOLLANDIA IS NOT ENTITLED TO DISCOVERY OF MEDIATION-RELATED

                   13            COMMUNICATIONS

                   14            CDC and the PADs have attempted to direct their energies away from traditional

                   15 adversarial litigation and towards mediation. The mediation has been an ongoing process and has

                   16 included bringing the parties together so that they could cooperatively fund the collection of

                   17 monitoring data and investigation of the areas in and around Lake San Marcos and San Marcos

                   18 Creek, the preparation of computer modeling to assist in evaluating remedial alternatives, and the

                   19 presentation of an RI/FS report to the Regional Board.

                   20            CDC and the PADs attempted to convince Hollandia to join the mediation and Hollandia

                   21 ultimately participated in the mediation for a limited time. In the correspondence leading up to

                   22 Hollandia’s participation, Hollandia and the parties confirmed their mutual understanding that

                   23 mediation discussions would be considered privileged and confidential. On May 1, 2015, VWD

                   24 informed Hollandia that “CDC and the PADs have a mutual understanding and agreement that the

                   25 content and discussions in mediation are considered confidential and privileged, and are intended

                   26 to remain confidential and privileged even after the mediation has concluded and even if the

                   27 litigation stay is eventually lifted.” (Exh. C to Troy Decl. May 1, 2015 letter from Reaves to
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4488 Page 24 of 47




                    1 Troy.) Hollandia responded by stating that “Hollandia agrees that the discussions during, and

                    2 materials prepared solely for, mediation remain privileged.” (Exh. E to Troy Decl. May 12, 2015

                    3 letter from Reaves to Troy.7) VWD subsequently confirmed Hollandia’s agreement by stating “We

                    4 appreciate your acknowledgement that discussions during and materials prepared solely for the

                    5 mediation will remain mediation privileged.” (Exh. F to Troy Decl. May 19, 2015 letter from Troy

                    6 to Reaves.)

                    7             Hollandia participated in the mediation, but then later withdrew. It now argues that it

                    8 should have access to documents and discussions exchanged as part of the mediation. It argues,
                    9 contrary to its prior acknowledgment of privilege, that no privilege is recognized for mediation.

                   10 Rather, it claims that “discovery can insert itself into settlement discussions and mediation with

                   11 regards to statement of fact.” (Discovery. Mtn., p.6:16-17.) It seeks, among other items,

                   12 “information and consultant observations and opinions with respect to what the parties learned and

                   13 how the parties complied with the [investigative order]” that were discussed as part of the

                   14 mediation. (Discovery Mtn., p.7 at footnote 1.)

                   15             CDC and the PADs do not dispute that underlying factual information which is otherwise

                   16 discoverable, such as investigatory data, does not become privileged merely because it was

                   17 presented in mediation. However, Hollandia seeks more than the underlying factual information,

                   18 which has been produced; rather, it seeks discussions of facts and opinions that occurred between

                   19 the parties and the mediator in the context of the mediation.

                   20             Hollandia’s arguments would allow those who do not participate in a mediation to use it as

                   21 a discovery device, effectively awarding non-participants and penalizing those who candidly share

                   22 information. The Court should not allow discovery into such information as (1) it is privileged; (2)

                   23 it is confidential; and (3) it is inadmissible and thus irrelevant under Rule 408.

                   24 / / /

                   25 / / /

                   26
                        7
                              The only exception to this protection was for “underlying public documents and information.” See May 12, 2015
                   27 letter from Reaves to Troy.
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4489 Page 25 of 47




                    1            A.        The Information Sought Is Privileged

                    2            While Circuit Courts have yet to recognize a federal mediation privilege, many district

                    3 courts have done so. Folb v. Motion Picture Industry Pension & Health Plans (CD CA 1998) 16

                    4 F.Supp.2d 1164, 1180; Sheldone v. Pennsylvania Turnpike Comm’n (WD PA 2000) 104

                    5 F.Supp.2d 511, 512-517—privilege protects all written or oral communications made during

                    6 mediation “for any purpose (including impeachment)” (emphasis omitted); In re RDM Sports

                    7 Group, Inc. (BC ND GA 2002) 277 BR 415, 430-431 (recognizing mediation privilege); United

                    8 States v. Gallo (WD NY 1987) 672 F. Supp. 99, 103.
                    9            The Folb court performed a thorough analysis of whether a federal mediation privilege

                   10 should be recognized. In that case, the plaintiff in an employment discrimination case filed a

                   11 motion to compel the production of mediation documents from a prior mediation involving the

                   12 defendant employer, but in which he did not participate. The Folb court held that a mediation

                   13 privilege precluded production of the documents. In recognizing the privilege, the court first

                   14 reviewed case law and academic work on the subject of mediation. After carefully reviewing this

                   15 authority, the court “concluded that the proposed blanket mediation privilege is rooted in the

                   16 imperative need for confidence and trust among participants.” Id. at 1176. The Court then

                   17 reviewed the public policy implications of such a privilege and concluded that “a mediation

                   18 privilege would serve important public ends by promoting consolatory relationships among parties

                   19 to a dispute, by reducing litigation costs and by decreasing the size of state and federal court

                   20 dockets, thereby increasing the quality of justice in those cases that do not settle voluntarily.” Id.

                   21 at 1177. The Court then concluded that there would be little “evidentiary detriment” to the

                   22 mediation privilege as “anyone who attends a mediation, or decides not to use mediation to

                   23 attempt to resolve a dispute, will consider the effect of disclosures on the pending or potential

                   24 litigation.” Id. at 1178. The Court then noted that 49 states had adopted a mediation privilege and

                   25 that denial of the privilege would “frustrate the purposes of the state legislation.” Id. at 1179. For

                   26 these reasons, the Court found it appropriate to adopt a federal mediation privilege applicable to

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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4490 Page 26 of 47




                    1 all communications made in conjunction with a formal mediation. Id. at 1180; see Microsoft Corp.

                    2 v. Suncrest Enter. (N.D. Cal. Jan. 6, 2006) 2006 WL 929257, at *1 (applying Folb).

                    3            The concerns supporting the application of the privilege in Folb are equally applicable

                    4 here. As in Folb, the parties participated in a mediation in which an “imperative need for

                    5 confidence and trust” was required in order to make the mediation effective as parties needed to be

                    6 able to candidly discuss the strengths and weaknesses of their cases without fear that a party

                    7 would later comb through these communications looking for admissions. The mediation promoted

                    8 “consolatory relationships among parties to a dispute” and in fact paved the way for cooperation
                    9 amongst otherwise-adverse parties which resulted in monies that might otherwise have been used

                   10 up in litigation being redirected to the technical investigation of the site and the development of a

                   11 potential remedy. There is no “evidence detriment” to Hollandia if the mediation documents are

                   12 not disclosed as Hollandia has never been deprived of underlying data or other substantive

                   13 information relating to the Lake and Watershed investigation. The privilege sought is also

                   14 consistent with the laws of most states, including California. See California Evidence Code, §

                   15 1119. For these reasons, this Court should recognize the mediation privilege that was recognized

                   16 in Folb.

                   17            Hollandia argues that, under Molina v. Lexmark Intern. Inc. (CD CA 2008) 2008 WL

                   18 4447678, this Court should address this discovery dispute only in reference to Rule 408. Molina,

                   19 however, concerned a case where a party was attempting to introduce evidence of a settlement

                   20 demand that it had made during mediation for the purposes of arguing that the deadline to file a

                   21 notice of removal under 28 USC 1332(d) [which requires a party to file a notice of removal of a

                   22 class action within 30 days of a defendant learning certain facts] had passed. The Molina Court

                   23 held that in that context, the appropriate analysis was confidentiality rather than privilege, as the

                   24 question was not whether discovery of documents could be compelled, but whether a party could

                   25 voluntarily disclose to the court information about what it had disclosed during mediation. Id. at

                   26 11.

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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4491 Page 27 of 47




                    1            Unlike Molina, the present case involves a discovery issue. Hollandia is not attempting to

                    2 introduce evidence of what occurred at mediation; it is attempting to learn what was said during

                    3 mediation discussions that it was not party to. This situation parallels the attempt to compel

                    4 discovery communications that was disallowed in Folb.

                    5            Hollandia argues that mediation privilege should not extend to communications regarding

                    6 the investigative order. However, as the investigative order, and CDC’s and the PAD’s response to

                    7 it, is a key component of this litigation, it is hard to imagine an effective mediation that did not

                    8 squarely address the investigative order. Hollandia’s counsel himself admitted this in a March 9,
                    9 2015 e-mail stating that “Given that the PADs and CDC must comply with the [investigative

                   10 order], and the mediation offers a good forum to conduct that business and raise funds from the

                   11 insurers, we undoubtedly would do the same in your shoes.” (Troy Decl., Exh. D March 9, 2015

                   12 letter from Reaves to Troy.)

                   13            Hollandia also explicitly acknowledged its and the other parties understanding that

                   14 information discussed in the mediation would be privileged. (Troy Decl., Exh. E , March 12, 2015

                   15 letter from Reaves to Troy [“Hollandia agrees that the discussions during, and materials prepared

                   16 solely for, mediation remain privileged.”].) Having gained entrance to the mediation by agreeing

                   17 to treat the mediation as privileged, Hollandia is judicially estopped from now arguing that the

                   18 mediation is not privileged. Rissetto v. Plumbers & Steamfitters Local 343, 94 F.3d 597, 605 (9th

                   19 Cir. 1996) [Judicial estoppel precludes parties from taking inconsistent positions in the same

                   20 litigation].

                   21            Parties routinely use mediation to attempt settle cases. Hollandia’s position, if adopted,

                   22 would significantly disrupt mediation as parties would constantly have to consider whether their

                   23 statements could later be discovered. A blanket mediation privilege “serves important public ends

                   24 by encouraging open communications in mediation which ultimately leads to better relationships

                   25 between the parties . . . .” Folb, supra, at 1177. As the present case involves a direct attempt to

                   26 compel disclosure of mediation communications, this Court should apply the mediation privilege.

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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4492 Page 28 of 47




                    1            B.        The Information Sought Is Confidential

                    2            Prior to participating in the mediation, the parties, including Hollandia, agreed that

                    3 mediation discussions would be treated as privileged and confidential. )Troy Decl., Exh. C May

                    4 1, 2015 letter from Reaves to Troy [“CDC and the PAD have a mutual understanding and

                    5 agreement that the content and discussions in mediation are considered confidential and

                    6 [acknowledging privilege].) Even if no mediation privilege applies, Hollandia still agreed that the

                    7 mediation discussions could be maintained in confidence. Hollandia now seeks to violate that

                    8 agreement.
                    9            The Ninth Circuit has upheld the enforceability of agreements to keep mediations

                   10 confidential. Facebook, Inc. v. Pacific Northwest Software, Inc. 640 F.3d 1034 1041. Other

                   11 Circuits have similarly recognized the importance of confidentiality in mediation. For example,

                   12 the Second Circuit has stated that “If participants cannot rely on the confidential treatment of

                   13 everything that transpires during [mediation] sessions, then counsel of necessity will feel

                   14 constrained to conduct themselves in a cautious, tight-lipped, noncommittal manner more suitable

                   15 to poker players in a high-stakes game than adversaries attempting to arrive at a joint solution to a

                   16 civil dispute. This atmosphere if allowed to exist would surely destroy the effectiveness of a

                   17 program which has led to settlements. . . .” Lake Utopia Paper Ltd. v. Connelly Containers, Inc.,

                   18 608 F.2d 928, 930 (2d Cir. 1979).

                   19            The Second Circuit has set forth a high standard that must be met before a party is entitled

                   20 to mediation related material. Noting that confidentiality in mediation proceedings “promotes the

                   21 free flow of information that may result in the settlement of a dispute” and protects “the integrity

                   22 of alternative dispute resolution generally,” the Second Circuit rejected an attempt to lift a

                   23 protective order to allow discovery of mediation proceedings. In re Teligent, Inc., 640 F.3d 53,

                   24 57–58 (2d Cir. 2011) (citations omitted). The Second Circuit further held that “A party seeking

                   25 disclosure of confidential mediation communications must demonstrate (1) a special need for the

                   26 confidential material, (2) resulting unfairness from a lack of discovery, and (3) that the need for

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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4493 Page 29 of 47




                    1 the evidence outweighs the interest in maintaining confidentiality.” In re Teligent, Inc., 640 F.3d

                    2 53, 58 (2d Cir. 2011) (citations omitted).)

                    3            Hollandia cannot meet any part of this test. It can show no special need for the material as

                    4 it is freely able to develop its defenses through reference to the underlying factual data, reports,

                    5 and information, all of which is available to it. It can show no unfairness due to not being able to

                    6 access mediation materials; in fact, it would be unfair to allow Hollandia access to these materials

                    7 as it would penalize CDC and the PADs for attempting to settle this case and would result a

                    8 chilling effect upon the ongoing mediation efforts. Finally, it cannot show that its non-existent
                    9 need for this discovery outweighs the important policy concerns favoring confidentiality in

                   10 mediation.

                   11            C.        The Information Sought Is Inadmissible And Thus Irrelevant Under Rule 408

                   12            Rule 408 prohibits admission of settlement communications “to prove or disprove the

                   13 validity or amount of a disputed claim or to impeach by a prior inconsistent statement or a

                   14 contradiction.” Federal Rules of Evidence, Rule 408 (a). Hollandia, however, argues that this

                   15 prohibition does not extend to “statements of fact made during settlement negotiations.”

                   16 (Hollandia Motion, p. 6:11-12.) Hollandia bases this surprising argument on a citation to the

                   17 House Committee Notes for the rule. Id.

                   18            Hollandia has misread the legislative history. While the House Committee supported

                   19 amending Rule 408 to allow admission of unqualified statements of fact, the Senate Committee

                   20 rejected this amendment, and the rule ultimately adopted prohibited the admission of all statement

                   21 of facts, qualified or not. Ramada Dev. Co. v. Rauch, 644 F.2d 1097, 1106 (5th Cir. 1981)

                   22 [discussion of legislative history of portion of Rule 408 prohibiting introduction of statements of

                   23 fact made as part of settlement discussions]; Affiliated Mfrs., Inc. v. Aluminum Co. of Am., 56 F.3d

                   24 521, 529 (3d Cir. 1995) [“Rule 408 was specifically designed to cover admissions of fact . . .”].

                   25 Hollandia’s claim that statement of facts made in mediation proceedings are admissible is simply

                   26 wrong.

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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4494 Page 30 of 47




                    1            Any mediation discussions, whether of fact or opinion, would not be admissible in this

                    2 action. As Hollandia could not directly use this information even if discovered, it is irrelevant and

                    3 thus should not be compelled.

                    4 VI.        THE ATTORNEY-CLIENT PRIVILEGE, WORK PRODUCT DOCTRINE, AND

                    5            JOINT DEFENSE PRIVILEGE/COMMON INTEREST DOCTRINE PROTECT

                    6            DISCOVERY OF THE DOCUMENTS SOUGHT BY HOLLANDIA

                    7            Hollandia claims that no privileges apply to the communications set forth in Sec. IIA

                    8 above because, among other things, (c) compliance with the IO/PA is inherently a technical, not
                    9 legal, endeavor; * * * (e) there is no common interest/joint defense agreement among the PADs

                   10 for technical compliance with the PA or due to adverse legal interests; (f) there is no common

                   11 interest/joint defense agreement amongst plaintiff and the defendants in the same litigation; (g)

                   12 and, any attorney-client or work product protections have been waived by the RI/FS Parties to the

                   13 extent they have voluntarily disclosed information to the other parties to this litigation, or

                   14 Regional Board, and to the extent they reflect assumptions, facts, and direction provided by

                   15 counsel to their consultants. According to Hollandia, it is only seeking factual information as to

                   16 how the RI/FS Parties chose to comply with the IO/PA, reconcile differences, and how the RI/FS

                   17 Parties colluded to engineer a bias in the direction and nature of testing and modeling to

                   18 Hollandia’s detriment and to conceal exculpatory information. Discovery Mtn., pp. 4-19.

                   19            What Hollandia wants the court to ignore is that it had ample opportunity to participate in

                   20 the process of developing the RI/FS and, had it agreed like all the other parties to conditional

                   21 funding of a portion of the RI/FS activities, it would have had access to all of the information it

                   22 now claims shows evidence the PADs and CDC “colluded to engineer a bias in the direction and

                   23 nature of testing and modeling to Hollandia’s detriment and to conceal exculpatory information.”

                   24 (Troy Decl. ¶ 12 & 13; Perrino Decl., ¶ 3.8) Indeed, Hollandia was invited into and, did,

                   25
                        8
                   26        Hollandia may argue that inclusion of these “mediation discussions” here waives mediation privilege as it applies
                        to all communications in the mediation context. That argument would ignore the numerous examples in the court’s
                   27   record where Mr. Reaves, on behalf of Hollandia, waived mediation privilege as to the fact of its involvement in the
                        mediation, its refusal to fund the RI/FS and its grounds for refusal, and ultimately Hollandia’s withdrawal from the
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4495 Page 31 of 47




                    1 participate in mediation activities for the better part of two years. (Troy Decl. ¶ 11; Perrino Decl.,

                    2 ¶ 4.) Throughout its time as a mediating party, Hollandia was repeatedly invited to participate

                    3 financially in the RI/FS activities and was informed that, in exchange for its financial

                    4 participation, it would have equal say in the process and access to all of the work product as a

                    5 result. Id. Every time the issue was raised, though, Hollandia’s counsel, John Reaves, was very

                    6 vocal in his refusal to participate, arguing that Hollandia was not liable for the nutrients in the lake

                    7 and the watershed, and should not have to pay for the RI/FS but, instead, should be given constant

                    8 access to the privileged discussions between the PADs and CDC, without contributing financially.
                    9 Id.

                   10            The documents being sought, other than communications with the RWQCB,9 are all on

                   11 their face subject to work product protections through the Common Interest Doctrine, among other

                   12 protections. As discussed below, Hollandia misreads or misinterprets the law, misstates the facts

                   13 and advances an unfounded conspiracy theory all in an effort to gain access to communications it

                   14 was invited to participate in long ago but refused to pay the price. Hollandia’s verbal gymnastics

                   15 and misrepresentations of law and fact should not justify piercing this sacred veil the PADs and

                   16 CDC have worked so hard, and spent so much time and money, to protect. The Court should reject

                   17 Hollandia’s Motion and find that the documents described in Hollandia’s Motion at pp. 4-19, with

                   18 the exception of communications with the RWQCB are subject to protections under the Common

                   19 Interest Doctrine.

                   20            A.        The Documents Withheld Are Protected by the Work Product Doctrine

                   21            The documents Hollandia seeks are, quite clearly, protected by the work product doctrine.

                   22 By definition, the work product doctrine protects documents and things prepared in anticipation of

                   23 litigation or trial by a party, or for a party through his or her counsel, consultants, and his or her

                   24 counsel’s support staff. Loustalet v. Refco, Inc. (C.D. Cal. 1993) 154 F.R.D 243, 246 ). Further,

                   25

                   26 mediation. (Perrino Decl., ¶ 4.)
                        9
                            As discussed, supra, the PADs and CDC all agree that communications with the RWQCB are not privileged and,
                   27 if not already, will be producing same shortly.
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4496 Page 32 of 47




                    1 the Supreme Court has long held that the work product doctrine applies to documents created by

                    2 investigators and consultants retained by, and working for, attorneys, so long as the documents

                    3 were created in anticipation for litigation. U.S. v. Nobles (1975) 422 U.S. 225, 239.

                    4            Whether documents are made “in anticipation for litigation” is determined by application

                    5 of the “because of” standard in the Ninth Circuit. See, e.g., In re Grand Jury Subpoena

                    6 MarkTorf/Torf Environmental Mgmt.(“Torf”) (9th Cir. 2004) 357 F.3d 900, 908). The “because

                    7 of” standard does not consider whether litigation is a primary or secondary motive behind creation

                    8 of a document, but rather considers “the totality of the circumstances and affords protection where
                    9 the document would not have been created in substantially similar form without the threat of

                   10 litigation.” Id.; In re Northrop Grumman Corp. ERISA Litigation (C.D. Cal. 2010) 2010 WL

                   11 11468584 at *5 [applying the “because of” rule to hold that an expert/consultant’s remediation

                   12 investigation work and corresponding work product to be privileged “because of” the prospect of

                   13 litigation], declined to extend on other grounds in Phillips v. C.R. Bard, Inc. (D. Nev. 2013) 290

                   14 F.R.D. 615; U.S. v. Salyer (E.D. Cal. 2012) 853 F. Supp. 2d 1014. The “because of” standard asks

                   15 whether “if, in light of the nature of the document and the factual situation in the particular case,

                   16 the document can be fairly said to have been prepared or obtained because of the prospect of

                   17 litigation.” Id. at 907 (internal citations omitted). If it has, work product privileges will apply to

                   18 the document.

                   19            On their face, the documents Hollandia says should be produced are work product under

                   20 the “because of” standard.” While Hollandia describes the documents it seeks broadly, and it

                   21 would take too much time for each of the PADs and CDC to search and identify the

                   22 communications it has, each of the documents Hollandia seeks can be broadly described thus:

                   23 communications among counsel and among consultants for the PADs and CDC related to their

                   24 efforts to characterize contamination in San Marcos Creek and Lake San Marcos, remediate that

                   25 contamination, and to identify others responsible for that contamination. These communications

                   26 have multiple purposes. At a minimum, they assist counsel for each of the PADs and CDC in

                   27 further efforts to prepare for and address issues presented by the instant litigation; they help
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4497 Page 33 of 47




                    1 counsel for the PADs and CDC prepare for and respond to potential litigation by the RWQCB to

                    2 enforce the IO and PA, which is always threatened should they fail to comply; and they assist

                    3 counsel in responding to and complying with the IO and PA.

                    4            Each of the parties, by and through their consultants who have been retained by counsel,

                    5 has contributed to the development of a remedial investigation and feasibility study and

                    6 subsequent remedial measures, which are being used not only to comply with the IO and PA, but

                    7 also to develop information needed to either help resolve the instant litigation or to prosecute the

                    8 claims involved in it. (Troy Decl., ¶ 12; Perrino Decl., ¶ 2; Caufield Decl. ,¶ 10; Slome Decl., ¶ 8.)
                    9 That RI/FS and the subsequent remedial measures would also be used in any ensuing litigation,

                   10 should compliance with the IO and PA become at issue. As discussed below, these multiple

                   11 purposes do not defeat the protected nature of these documents. Nor does sharing of this work

                   12 product among cooperating parties, like the PADs and CDC.

                   13            The instant case is similar to the facts of Torf, where documents prepared by an

                   14 environmental consultant to assist an attorney in preparation for litigation were held to be

                   15 privileged under the “because of” standard.” Torf, supra, 357 F.3d at 910. In Torf, a company

                   16 retained an attorney, who in turn retained an environmental consultant, to assist the company with

                   17 complying with Information Requests by the EPA for statutory violations, both civil and criminal,

                   18 under CERCLA. The environmental consultant, in assisting with compliance with the Information

                   19 Requests, conducted interviews, sampled and tested the hazardous products at issue, and

                   20 investigated potentially hazardous properties, compiling the information for the attorney and

                   21 company to use. Id.

                   22            The Ninth Circuit Court of Appeals held that the consultant’s reports were protected,

                   23 despite the fact that they had a dual purpose of assisting in complying with the Information

                   24 Request, stating that the documents, though containing some factual assertions, were entitled to

                   25 work product protections because “their litigation purpose so permeates any non-litigation purpose

                   26 that the two purposes cannot be discretely separated from the factual nexus as a whole.” Id. at 910.

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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4498 Page 34 of 47




                    1            Here, the documents Hollandia seeks are also protected because “their litigation purpose so

                    2 permeates any non-litigation purpose that the two purposes cannot be discretely separated from the

                    3 factual nexus as a whole.” Id. Each of the documents will likely contain the consultant’s mental

                    4 impressions, opinions on potential liability and exposure, apportionment of fault, and

                    5 recommendations to the attorney who retained them for their work on the issues involved in Lake

                    6 and the Creek

                    7            All consulting experts were retained at the behest and advice of counsel on behalf of their

                    8 respective clients. They were retained by attorneys, to assist attorneys, in tasks that could not have
                    9 been performed by such an attorney. The consultants that were jointly retained to help prepare the

                   10 RI/FS and related remedial designs have similarly been retained by counsel for each of the PADs

                   11 and CDC to prepare these studies for use in defending and prosecuting the instant lawsuit,

                   12 responding to and complying with the IO and PA, and in anticipation of potential litigation by the

                   13 RWQCB. Such “dual purposes” are so interwoven, and the volume of communications so

                   14 extensive, that it would be impossible for the PADs and CDC to separate them out. Accordingly,

                   15 the court should treat them all as work product. Id. at 909.

                   16            Hollandia contends that Torf does not control in this instance, since no party is facing

                   17 criminal charges. (Discovery Mtn., p. 18.) Further, Hollandia contends that the consultants would

                   18 have had to do this work regardless of the threat of litigation to comply with the IO/PA and PADs

                   19 MS4 Permits. (Id.) As such, Hollandia states no party needed to consult an attorney “to decide

                   20 how to respond to the technical mandate of the IO/PA or to direct their consultants.” Discovery

                   21 Mtn, p. 16.

                   22            Hollandia’s arguments that Torf does not control were each addressed by the Court there

                   23 and rejected. First, in Torf, the Ninth Circuit found unconvincing the argument that the

                   24 environmental consultant in that case could have been retained directly by the company to assist

                   25 with the Information Requests, thus destroying the work product arguments, holding that the work

                   26 product protections still would have applied even if the company had retained him directly to act

                   27 as environmental consultant on the cleanup, so long as the documents being sought “were also
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4499 Page 35 of 47




                    1 produced ‘because of’ litigation.” Torf, 357 F.3d at 909. In other words, the fact that the PADs and

                    2 CDC could have retained the consultants directly to respond to the IO and PA is irrelevant. So

                    3 long as the communications have a dual purpose, and they all do, they are protected. Id.

                    4            The Court also found in Torf that it does not matter whether the anticipated litigation is

                    5 civil, criminal, actual, or potential, so long as the documents at issue are created in anticipation of

                    6 litigation. Id. Hollandia’s reading of Torf, apparently through the wrong prescription glasses, is

                    7 disingenuous at best. The Court should reject that reading.

                    8            B.        The Work Product Documents Sought Are Protected Under the Common
                    9                      Interest Doctrine

                   10            The common interest doctrine, sometimes referred to as the joint defense privilege, allows

                   11 a party or their counsel to share privileged information with other parties facing a common

                   12 opponent pursuant to an agreement or understanding that the shared information is to remain

                   13 privileged. Waller v. Financial Corp. of America (9th Cir. 1987) 828 F.2d 579, 583, fn. 7. It is an

                   14 exception to the rule that disclosure of privileged material to an unrelated third party generally acts

                   15 as a waiver. Hunydee v. U.S. (9th Cir. 1965) 355 F.2d 183. The common interest doctrine allows

                   16 clients without a common attorney to communicate among themselves, and with attorneys

                   17 representing other clients, for the purpose of preparing a joint strategy, and protects these

                   18 communications to the same extent it would protect communications between a client and their

                   19 own attorney. Id. It also applies to protect communications among investigators and consultants

                   20 retained by those parties. Nobles, supra, 422 U.S. at 238-39; In re Northrop, supra, at *5.

                   21            The common interest doctrine “applies where parties are represented by separate counsel

                   22 but engage in a common legal enterprise.” Griffith v. Davis (C.D. Cal. 1995) 161 F.R.D 687, 692.

                   23 It protects “confidentiality of communications passing from one party to the attorney of another

                   24 party when made to further a joint effort.” Avocent Redmond Corp. v. Rose Electronics, Inc. (W.D.

                   25 Wash. 2007) 516 F. Supp. 2d 1199, 1203. The purpose of this rule allows persons who have

                   26 common interests to coordinate their positions without destroying the privileged status of their

                   27 communications with their lawyers. U.S. v. Henke (9th Cir. 2000) 222 F.3d 633, 636 [(A joint
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4500 Page 36 of 47




                    1 defense agreement establishes an implied attorney-client relationship with the co-defendant].The

                    2 Ninth Circuit has “long recognized that the joint defense privilege is an extension of the attorney-

                    3 client privilege.” U.S. v. Gonzalez, (9th Cir. 2012) 669 F.3d 974, 978; see also e.g., Waller, supra,

                    4 828 F.2d at 583, fn. 7. The issue was first discussed in Continental Oil Co. v. U.S. (9th Cir. 1964)

                    5 330 F.2d 347, where the Court held that discussions and memoranda shared between counsel for

                    6 two parties were protected by the joint defense privilege. Id. at 350 (“the privilege asserted here

                    7 is a valuable and an important right for the protection of any client at any stage of his dealings

                    8 with counsel.”) Since Continental Oil, courts in the Ninth Circuit have consistently upheld
                    9 application of the joint defense privilege and the common interest doctrine in the context of both

                   10 criminal and civil litigation, even when litigation is only pending or threatened. Waller v.

                   11 Financial Corp. of America (9th Cir. 1987) 828 F.2d 579; Hunydee v. U.S. (9th Cir. 1965) 355

                   12 F.2d 183, 185; Griffith v. Davis, 161. F.R.D. at 693; Olen Properties Corp. v. Sheldahl, Inc. (C.D.

                   13 Cal. 1994) 1994 WL 212135, *1; Morvil Technology, LLC v. Ablation Frontiers, Inc. (S.D. Cal.

                   14 2012) 2012 WL 760603, *3; Synopsy, Inc. v. Ricoh Co., Ltd.(N.D. Cal. 2006) 2006 WL 2479109,

                   15 *1; Perez v. Clearwater Paper Corp. (D. Idaho 2015) 2015 WL 695331, *2; U.S. ex rel.

                   16 Burroughs v. DeNardi Corp. (S.D. Cal. 1996) 167 F.R.D 680, 686.

                   17                      1.   The PADs and CDC Share a Common Interest In Responding to the

                   18                           RWQCB and In Prosecuting and Defending The Instant Case

                   19            The PADs and CDC share a common interest in responding to the IO and PA. A common

                   20 interest is found where, as here, two or more parties, subject to possible litigation in connection

                   21 with the same transactions, make confidential statements to their attorneys that are subsequently

                   22 shared, to the extent that they involve common issues and are intended to facilitate representation

                   23 in possible subsequent proceedings. Hunydee, supra, 355 F.2d at 185, emphasis added.

                   24            Here, the PADs and CDC share a common interest related to addressing the RWQCB’s IO

                   25 and PA. The RWQCB, through its regulatory authority as embodied in the IO and the PA, has

                   26 required certain remedial investigation efforts and actions to be undertaken. The PADs and CDC

                   27 have each retained their counsel to represent their respective interests in responding to the
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4501 Page 37 of 47




                    1 RWQCB, and those counsel have retained consultants to do that work. Those consultants and

                    2 counsel must communicate in order to strategize about how best to represent the interests of their

                    3 respective clients. Any communications, as well as any work product created by counsel or their

                    4 consultants, to the extent not disclosed to the RWQCB, is protected work product being shared

                    5 pursuant to the mutual interest doctrine and should be protected.

                    6            As discussed above, this work has multiple purposes. First, it is being employed not only

                    7 to respond to the RWQCB, but also in anticipation of potential litigation with the RWQCB, should

                    8 compliance with the IO and PA become an issue. Second, the work is also being used to prosecute
                    9 and defend in the instant litigation. Each of the PADs and CDC share common interests in these

                   10 endeavors, even though they may have adverse positions in other respects. As such, the

                   11 communications related to compliance with the IO and PA are, quite clearly, protected under the

                   12 Common Interest Doctrine.

                   13            The common interest doctrine does not require the existence of a written agreement to

                   14 apply. Gonzalez, supra, 669 F.3d at 979. While express agreements can be the foundation for

                   15 asserting a common interest, a writing is not required for a court to find that the parties were

                   16 acting in accordance with one another. Id.

                   17            Here, attorneys and consultants for the PADs and for CDC have been exchanging

                   18 privileged and confidential information in furtherance of the common interest agreement in order

                   19 to address the multiple needs for information: the RI/FS process under the IO and the PA; the

                   20 threat of litigation should compliance with the IO and PA become an issue; and the instant

                   21 litigation which focuses on many of the issues being investigated and addressed through the RI/FS

                   22 process.

                   23            Even though a writing is not required for the common interest doctrine to apply, the PADs

                   24 memorialized the existence of a common interest agreement when they executed the Participation

                   25 Agreement, the Cooperation Agreement, and subsequent addenda. (Participation Agreement

                   26 Among the Lake San Marcos Work Group (“Participation Agreement”), Reaves Decl., Exh. 14.)

                   27 This agreement, and the corresponding Common Interest Agreement, made it explicitly clear that
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4502 Page 38 of 47




                    1 the PADs were sharing information that was intended to be kept confidential. (Participation

                    2 Agreement, p. 9. [“the Members agree that information discussed pursuant to this Agreement ...

                    3 shall be kept confidential and shall not be disclosed to any person or public agency not a member

                    4 without consent of the Members holding a majority of the Voting Power.”]) Furthermore, all

                    5 Parties that entered into the Participation Agreement made it clear in the agreement that there was

                    6 no waiver of any privilege in the sharing of information, and that all information shared was

                    7 confidential in nature. (Participation Agreement, p. 20.) While CDC is not a party to the

                    8 Participation Agreement, it has agreed through the mediation process to maintain all of the work
                    9 product and communications of the group in confidence. Escondido has similarly agreed, through

                   10 its participation in the mediation process and its execution of the Cooperation Agreement and

                   11 Common Interest Agreement. The parties have operated under this arrangement since the process

                   12 began. Thus, notwithstanding Hollandia’s assertions to the contrary, the communications

                   13 Hollandia is seeking are especially intended by the PADs and CDC to be privileged and

                   14 confidential and protected by the common interest doctrine.

                   15                      2.   Common Interest is Not Limited to Co-Parties

                   16            The protections afforded under the common interest doctrine, despite also being referred to

                   17 as the “joint defense” privilege at times, are not limited to only defendants, or even to parties on

                   18 the same side of litigation. Courts have routinely extended its application both to parties on

                   19 seemingly opposite sides of disputes and to communications made well prior to or after litigation.

                   20 Selcak v. Morgan Whitney Trading Group, Inc. (C.D. Cal. 1992) 795 F.Supp. 329, 331

                   21 [recognizing that the privilege is not limited to co-parties]. Moreover, the privilege applies to

                   22 cooperating defendants and cooperating plaintiffs. Id. at 331.) In fact, the doctrine has been found

                   23 to apply even when the interests of the parties are adverse in some respects. U.S. v. Bergonzi,

                   24 (N.D. Ca. 2003) 216 F.R.D 487, 495-496. As long as the attorney-client privilege exists in the first

                   25 instance, disclosing the information to another party who shares a common interest will not result

                   26 in a waiver of privilege. U.S. v. American Tel. & Tel. Co. (D.C. Cir. 1980) 642 F.2d 1285, 1299.

                   27 / / /
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4503 Page 39 of 47




                    1            Here, while the PADs and CDC do not share a “complete unity of interests”, they do share

                    2 a common interest in several issues: compliance with the IO and PA; preparation for anticipated

                    3 litigation by the RWQCB, should compliance with the IO and PA become an issue; and

                    4 preparation of joint materials in an effort to resolve or litigate the prosecute the instant matter. So

                    5 long as the communications remain confidential—and Hollandia has not presented any evidence

                    6 that they have not—they are subject to protections under the common interest doctrine. The

                    7 assertion that the doctrine doesn’t apply because the PADs and CDC are on opposite sides of the

                    8 litigation is disingenuous, at best.
                    9                      3.   The Participation Agreement Does Not Remove the Threat of

                   10                           Litigation

                   11            The common interest doctrine applies at any stage of legal representation, so long as the

                   12 parties to the agreement are faced with a common threat of liability. Since Hunydee, courts in the

                   13 Ninth Circuit have consistently applied the protections of the joint-defense privilege and/or

                   14 common interest doctrine where represented parties share “common issues and are intended to

                   15 facilitate representation in possible subsequent proceedings.” Gonzalez, supra, 669 F.3d at 980

                   16 [“there is no requirement that actual litigation even be in progress.”]; Griffith v. Davis, 161. F.R.D.

                   17 at 693 (“Where a ‘joint defense effort or strategy has been decided upon and undertaken by the

                   18 parties and their respective counsel,’ communications may be deemed privileged whether

                   19 litigation has been commenced against both parties or not.”].

                   20            Here, while the Participation Agreement protected the parties against regulatory

                   21 enforcement and the threat of litigation by the RWQCB, its protections could only be enjoyed by

                   22 compliance with its terms. As such, the “threat of litigation” remains, since the IO/PA Parties, and

                   23 certain PRPs including CDC, can only avoid regulatory enforcement and/or litigation through

                   24 compliance with its terms. Id.

                   25            In any event, CDC and the PADs have, since the RI/FS process began, been engaged in

                   26 litigation. As discussed above, any communications among counsel or their consultants directed at

                   27 the joint effort to prepare the RI/FS and follow through with remedial actions would be subject to
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4504 Page 40 of 47




                    1 the same protections as “dual purpose” work product. Hollandia’s assertions to the contrary are,

                    2 once again, disingenuous.

                    3                      4.   Sharing of Information Between the PADs and CDC Does Not

                    4                           Constitute Waiver

                    5            Hollandia’s circular logic ignores the fundamental principle inherent in the common

                    6 interest doctrine: that it protects the sharing information with additional third parties that would

                    7 normally result in a waiver. American Tel. & Tel,. 642 F.2d at 1299 [disclosure to a third party

                    8 does not waive work product protection where the third party shares a common interest with the
                    9 disclosing party which is adverse to that of the party seeking discovery]. Moreover, one party

                   10 cannot unilaterally waive the privilege for any other party who also asserts the privilege. Gonzalez,

                   11 supra, 699 F.3d at 982.

                   12            Here, Hollandia presents no evidence that any of the PADs or CDC intended to waive the

                   13 protections of the common interest doctrine. Instead, it continues to employ empty logic to argue

                   14 that simply sharing privileged information among the parties constitutes a waiver of work product

                   15 and attorney client protections. But it is clear from the recitations above that the common interests

                   16 protections apply to communications and information shared among the attorneys and consultants

                   17 for the PADs and for CDC in addressing the regulatory concerns of the RWQCB and in

                   18 prosecuting claims against Hollandia.

                   19                      5.   Hollandia’s Argument that Efforts to Comply with the Investigative

                   20                           Order and Participation Agreement is not “Legal Advice” Subject to

                   21                           Protections is a Red Herring

                   22            Hollandia makes the odd argument that work by consultants for the PADs and CDC to

                   23 comply with the Investigative Order and the Participation Agreement simply “involves consultants

                   24 collecting data, reaching opinions, and recommending solutions,” and therefore not subject to

                   25 work product or attorney-client protections. (Discovery Mtn., p. 15.) Further, Hollandia opines

                   26 that the only way legal advice could apply would be advising each’s client “about the legal

                   27 necessity to comply and the ramifications for failing to comply.” (Id.). The assumption here is that
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4505 Page 41 of 47




                    1 the consultants for the PADs and for CDC could and should engage in their compliance activities

                    2 without direction from the attorneys for those parties.

                    3            Hollandia’s argument, however, requires that the Court ignore the fact that the

                    4 communications at issue are directed at developing work product for use in resolving or

                    5 prosecuting the instant litigation. It also ignores the very real threat of regulatory action and

                    6 litigation that could ensue should the PADs or CDC fail to comply fully with the IO and the PA.

                    7 The PADs and CDC should not be penalized for using lawyers to protect them from these very

                    8 real litigation risks. The Court should reject Hollandia’s efforts to deprive them of their counsel.
                    9 VII.       IF SANCTIONS ARE AWARDED, THEY SHOULD BE AWARDED AGAINST

                   10            HOLLANDIA

                   11            A.        Sanctions Requested by Hollandia are Not Warranted

                   12            Hollandia’s request for sanctions should be denied on several grounds. First, sanctions

                   13 should be denied because Hollandia’s motion should be denied in its entirety. Hollandia’s

                   14 discovery requests are demonstrably overbroad and largely irrelevant, at least with respect to the

                   15 purposes for which this discovery has been permitted. Josendis v. Wall-to-Wall Residence Repairs,

                   16 Inc. (11th Cir. 2011) 662 F.3d 1292 [sanctions denied where discovery requests were overbroad or

                   17 irrelevant because such discovery requests are not substantially justified]. Moreover, even if the

                   18 court concludes that the privileges asserted by CDC and the PADs are either not applicable or only

                   19 partially applicable, sanctions should be denied. Sanctions are not appropriate where a losing party

                   20 on a motion to compel is substantially justified in opposing the motion. Quaker Chair Corporation

                   21 v. Litton Business Systems, Inc. (S.D.N.Y. 1976) 71 FRD 527. Here, in asserting that the extent of

                   22 the mediation privilege has not yet been fully developed in the Ninth Circuit, Hollandia essentially

                   23 concedes that CDC and the PADs had substantial justification in opposing the motion. In Murphy

                   24 v. Kmart Corporation (D.S.D. 2009) 259 FRD 421, the court held that attorneys’ fees in

                   25 connection with a successful motion to compel production should be denied given the lack of

                   26 controlling precedent on the issue and the split in authority in the circuits with respect to

                   27 applicability of the privilege asserted. Thus, where, as here, there is some federal court support for
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4506 Page 42 of 47




                    1 a position taken by a party, sanctions are not appropriate. United States EEOC v. Caesars

                    2 Entertainment, Inc. (D. Nev. 2006) 237 FRD 428. Therefore, the presence of a genuine dispute

                    3 over a legal issue indicates that the losing party on the motion is substantially justified in his

                    4 opposition and an award of costs to the prevailing party in those circumstances is unwarranted.

                    5 Quaker Chair Corporation v. Litton Business Systems, Inc. supra.

                    6            Substantial justification does not require justification to a high degree; rather, the

                    7 substantial justification standard is satisfied where there is a genuine dispute over a legal issue.

                    8 Coleman v. Dydula (W.D.N.Y. 1997) 175 FRD 177; Chaplaincy of Full Gospel Churches v.
                    9 Johnson (D.D.C. 2003) 217 FRD 250.

                   10            Plainly, the opposition to Hollandia’s motion satisfies the “substantial justification”

                   11 standard given that the parties are disputing the legal extent and nature of the privileges in dispute.

                   12 Accordingly, monetary sanctions against CDC and the PADs would be unwarranted.

                   13            B.        Sanctions Against Hollandia May Be Proper

                   14            If the court concludes that Hollandia has abused the discovery process as asserted in this

                   15 opposition by skirting the court’s order with regard to the extent to which discovery is permitted

                   16 and the order prohibiting expert discovery at this time, sanctions should be awarded against

                   17 Hollandia. Similarly, if the court concludes that Hollandia’s discovery requests fail to satisfy the

                   18 fundamental requirements for discovery, namely, reasonable particularity, relevance and

                   19 proportionality, or that they are improper and seek information that is plainly privileged, sanctions

                   20 should be awarded against Hollandia. In that event, CDC and the PADs respectfully request the

                   21 opportunity to provide this court with further briefing as to the amount of sanctions that should be

                   22 awarded against Hollandia.

                   23

                   24 DATED: June 22, 2018                      LEWIS BRISBOIS BISGAARD & SMITH, LLP
                   25

                   26                                           By____/s/ Ernest Slome__________________
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                   27                                           Attorneys for Defendant/Counter-Claimant/Cross-Defendant
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ATTORNEYS AT LAW            JOINT OPPOSITION TO HOLLANDIA’S MOTION FOR DETERMINATION OF DISCOVERY DISPUTES
              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4507 Page 43 of 47




                    1 DATED: June 22, 2018                BOOTH LLP
                    2                                     ___/s/ Josh Levine__________________________
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                    3                                     Attorneys for the City of Escondido
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                    5                                       /s/ Jeffrey Caulfield
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                    6                                     Attorneys for Citizens Development Corporation, Inc.
                    7
                        DATED: June 22, 2018              MEYERS FOZI & DWORK, LLP
                    8
                                                          /s/ Athena Troy
                    9
                                                          Athena Troy, Esq.
                   10                                     Attorneys for Vallecitos Water District

                   11
                        DATED: June 22, 2018              WALSWORTH FRANKLIN BEVINS & McCALL, LLP
                   12
                                                          /s/ Rudy R. Perrino
                   13                                     Rudy R. Perrino, Esq.
                                                          Attorneys for the County of San Diego
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4508 Page 44 of 47




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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4509 Page 45 of 47



                                                   FEDERAL COURT PROOF OF SERVICE
                    1
                                           Citizens Development Corporation, Inc. v. City of San Marcos –
                    2                                    Case No. 3:12-cv-00334-GPC-KSC
                    3 STATE OF CALIFORNIA, COUNTY OF SAN DIEGO

                    4        At the time of service, I was over 18 years of age and not a party to the action. My
                      business address is 701 B Street, Suite 1900, San Diego, CA 92101. I am employed in the office
                    5 of a member of the bar of this Court at whose direction the service was made.

                    6            On June 22, 2018, I served the following document(s):
                    7            JOINT OPPOSITION TO HOLLANDIA DAIRY INC.’S MOTION FOR
                                 DETERMINATION OF DISCOVERY DISPUTES
                    8
                            I served the documents on the following persons at the following addresses (including fax
                    9 numbers and e-mail addresses, if applicable):

                   10                                   SEE ATTACHED SERVICE LIST
                   11            The documents were served by the following means:
                   12           (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order or an
                                 agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                   13            documents to be sent to the persons at the e-mail addresses listed above. I did not receive,
                                 within a reasonable time after the transmission, any electronic message or other indication
                   14            that the transmission was unsuccessful.
                   15           (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed the
                                 documents with the Clerk of the Court using the CM/ECF system, which sent notification
                   16            of that filing to the persons listed above.
                   17           I declare under penalty of perjury under the laws of the United States of America and the
                        State of California that the foregoing is true and correct.
                   18
                                 Executed on June 22, 2018, at San Diego, California.
                   19

                   20
                                                                           /s/ Loreen von Stockhausen
                   21                                                      Loreen von Stockhausen
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4510 Page 46 of 47



                                                                SERVICE LIST
                    1                      Citizens Development Corporation, Inc. v. City of San Marcos
                                                            3:12-cv-00334-GPC-KSC
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              Case 3:12-cv-00334-GPC-KSC Document 240 Filed 06/22/18 PageID.4511 Page 47 of 47



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